Case 1:13-cr-00473-RM Document 135 Filed 06/18/15 USDC Colorado Page 1 of 11

®AO 245B (Rev. 11/14 D/CO) Judgment in a Criminal Case

 

 

 

Sheet 1
UNITED STATES DISTRICT COURT
District of COLORADO
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
GARY SNISKY
Case Number: 13-cr-00473-RM-01
USM Number: 40166-013

Robert William Pepin, AFPD
Defendant’s Attorney

THE DEFENDANT:
pleaded guilty to Counts 2 and 14 of the Indictment
[_] pleaded nolo contendere to Count(s)

 

which was accepted by the Court.
_] was found guilty on Count(s)

 

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count

18 U.S.C. § 1341 Mail Fraud 01/11/12 2

18 U.S.C. §§ 1957 and 2(b) Monetary Transactions in Property Derived from Mail Fraud 1/17/11 14
The defendant is sentenced as provided in pages 2 through il of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
[-] The defendant has been found not guilty on Count(s)

 

Counts remaining of the Indictment C1] is are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

JuneT8, 2075
¢ Date of Impositiog of Judg

\
\

ptt te,

    
  

# re Z
Ae 08, 4 Z

<ignature of Judge 7

  
  
    
 
 

Raymond P, Moore, U.S, District Judge
Name and Title of Judge

June 25, 2015
Date
Case 1:13-cr-00473-RM Document135 Filed 06/18/15 USDC Colorado Page 2 of 11

AO 245B (Rev. 11/14 D/CO) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of
DEFENDANT: GARY SNISKY

CASE NUMBER: 13-cr-00473-RM-01

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
eighty-four months per count, to be served concurrently.

Lx} The court makes the following recommendations to the Bureau of Prisons:

That the defendant be designated to a facility near the vicinity of White Plains, New York.

C] The defendant is remanded to the custody of the United States Marshal.

CO] The defendant shall surrender to the United States Marshal for this district:

[] at C] a.m. L] p.m. on

[-] as notified by the United States Marshal.

 

X} The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
before 12 p.m. noon_within 15 days of designation.
CT] as notified by the United States Marshal.
as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
Case 1:13-cr-00473-RM Document 135 Filed 06/18/15 USDC Colorado Page 3 of 11

AO 245B (Rev. 11/14 D/CO) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 3 of 11

 

DEFENDANT: GARY SNISKY
CASE NUMBER: 13-cr-00473-RM-01

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: three (3) years per count, concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

[X] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

OOo kK ww

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer,

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) .the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer,
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician. Except as.
authorized by court order, the defendant shall not possess, use or sell marijuana or any marijuana derivative (including THC) in any
form (including edibles) or for any purpose (including medical purposes). Without the prior permission of the probation officer, the
defendant shall not enter any marijuana dispensary or grow facility;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) _ the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court;

13) _ as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history, or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement; and

14) the defendant shall provide access to any requested financial information.
Case 1:13-cr-00473-RM Document 135 Filed 06/18/15 USDC Colorado Page 4 of 11

 

 

AO 245B (Rev. 11/14 D/CO) Judgment in a Criminal Case
Sheet 3C —- Supervised Release
Judgment—Page 4 of i
DEFENDANT: GARY SNISKY
CASE NUMBER: 13-cr-00473-RM-01

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the robation
officer, unless the defendant is in compliance with the periodic payment obligations imposed pursuant to the Court’s
judgment and sentence.

As directed by the probation officer, the defendant shall apply any monies received from income tax refunds, lottery
winnings, inheritances, judgments, and any anticipated or unexpected financial gains to the outstanding court ordered
financial obligation in this case.

If the defendant has an outstanding financial obligation, the probation office may share any financial or employment
documentation relevant to the defendant with the Asset Recovery Division of the United States Attorney’s Office to
assist in the collection of the obligation.

All employment for the defendant shall be approved in advance by the supervising probation officer. The defendant
shall not engage in any business activity unless the activity is approved by the probation officer. Any approved
business activity must operate under a formal, registered entity. For any approved business activity, the defendant shall
provide the probation officer with the names of all business entities and their registered agents. The defendant shall not
register any new business entity, foreign or domestic, without the approval of the probation officer. The defendant shall
not cause or induce others to register business entities on her behalf. For any approved business activity, the defendant
shall maintain business records. The defendant shall provide all requested documentation and records to the probation
officer regarding any of her business activities as requested by the probation officer.

The defendant shall maintain separate personal and business finances and shall not co-mingle personal and business
funds or income in any financial accounts, including but not limited to bank accounts and lines of credit.
Case 1:13-cr-00473-RM Document135 Filed 06/18/15 USDC Colorado Page 5 of 11

AO 245B (Rev. 11/14 D/CO) Judgment in a Criminal Case

Sheet 5 —- Criminal Monetary Penalties

Judgment ——- Page 5 of 11

DEFENDANT: GARY SNISKY
CASE NUMBER: 13-cr-00473-RM-01

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
Count 2 $ 100.00 $ 0.00 $ 2,531,032.22
Count 14 § 100.00 $ 0.00 § 0.00
TOTALS $ 200.00 $ 0.00 $ 2,531,032.22
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

x]

entered after such determination.
The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

Deborah Alvarado $145,085.59 $70,254.47

Jerome Beland $209,277.50 $101,337.98

Kristy Benites $623,000.00 $301,673.91

Paul Buroker $10,090.50 $4,886.10

Kathyrn Carmack $33,909.00 $16,419.68

Jack Chadwick $50,000.00 $24,211.39

Tamara Fisher $22,500.67 $10,895.45

Marcia Fortuna $97,000.00 $47,570.09

Charmaine Funk $53,067.93 $25,696.97

Vittoria Giovannucci $53,042.40 $25,684.60

Ann Gorham $35,000.00 $16,947.60

TOTALS $ 5,226,965.54 $531,032.22

L] Restitution amount ordered pursuant to plea agreement $

L] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[IX] The Court determined that the defendant does not have the ability to pay interest and it is ordered that:

[X] the interest requirement is waived for the L] fine [X] restitution.

[] the interest requirement for the U fine U0 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
Case 1:13-cr-00473-RM Document135 Filed 06/18/15 USDC Colorado’ Page 6 of 11

AO 245B (Rev. 11/14 D/CO) Judgment in a Criminal Case
Sheet 5B — Criminal Monetary Penalties

DEFENDANT: GARY SNISKY

CASE NUMBER:

Name of Payee

Mary Hall

Mark Evans Hart

David Kettner

Edmund J. Kieras
Kathryn Kingery

Stan Kingery

Jonathan Lakey

Paula Langseth

Delores Legrand
Legrand Revocable Trust
Faith A. Macauley

Steve Macauley

Arla Menzel

Kelvin Menzel

Mark and Kathle Messelt
James Mini

Cheryl Paxton
Karie Peters

Troy H. Peters
Colleen Ryan
Lawrence Ryan

The Larry Ryan Family Trust
Anne Savage

Gerald and Marc Schutte
Sharyn Smith

Neil J and Trac Vaile

Duane Voorman

Eileen Warpness

Eleanor Weems

Carol Hasty Weirs

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or

13-cr-00473-RM-01

Total Loss*

$56,000.00

$142,242.00
$61,727.24
$104,092.00
$198,164.99
$48,912.44
$250,000.00
$74,393.48
$34,824.55
$106,000.00
$20,899.36
$36,242.44
$35,695.75
$210,700.27
$329,896.29
$308,964.03
$475,058.47

$31,023.69
$13,559.64
$30,240.04
$260,587.08
$50,000.00
$205,532.56
$48,500.00
$83,000.00
$220,000.00
$194,000.00
$74,268.83
$100,000.00
$83,447.00

after September 13, 1994, but before April 23, 1996.

ADDITIONAL RESTITUTION PAYEES

Restitution Ordered

$27,116.76
$72,267.12

$29,890.84

$50,404.24
$95,956.99
$23,684.76
$121,056.94
$36,023.39
$16,863.01
$51,328.14
$10,120.05
$17,549.50
$17,284.87
$102,026.92
$159,744.95
$149,608.97
$230,036.53

$15,022.52
$6,565.95
$14,643.07

$126,183.50
$24,211.39
$99,524.57
$23,485.05
$39,590.91
$106,530.11
$93,940.19
$35,963.03
$48,422.78
$40,407.36

Judgment — Page

6 of il

Priority or Percentage
Case 1:13-cr-00473-RM Document 135 Filed 06/18/15 USDC Colorado Page 7 of 11

“AO 245B (Rev. 11/14 D/CO) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page 7 of ll
DEFENDANT: GARY SNISKY

CASE NUMBER: 13-cr-00473-RM-01

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A [J Lump sum payment of $ due immediately, balance due

[_] not later than ,0

r
[-] in accordance [| c, I D, E, or L] F below; or

B_ [X] Payment to begin immediately (may be combined with Lic, Lp, or EXIF below); or
Cc [2] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D [] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E [] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from

imprisonment. The Court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F_{X1 Special instructions regarding the payment of criminal monetary penalties:

The special assessment and restitution obligation are due immediately. Any unpaid restitution balance upon release from
incarceration shall be paid in monthly installment payments during the term of supervised release. The monthly installment
payments will be calculated as at least 10 percent of the defendant’s gross monthly income.

Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

IX] Joint and Several
13-cr-00375-PAB-01, Richard Greeott, $2,179,938.76

C] The defendant shall pay the cost of prosecution.
[-] The defendant shall pay the following Court cost(s):
[X] The defendant shall forfeit the defendant’s interest in the following property to the United States:

A money judgment in the amount of $2,531,052.31 and as reflected in the Plea Agreement and in Doc. No, 111, which includes a
forfeiture of substitute asset in the amount of $45,000 U.S. currency.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and Court costs.
Case 1:13-cr-00473-RM Document 135 Filed 06/18/15 USDC Colorado Page 8 of 11

AO 245B (Rev.11/14 D/CO) Criminal Judgment
Attachment (Page 1) — Statement of Reasons

 

Judgment—Page 8 of i
DEFENDANT: GARY SNISKY
CASE NUMBER: 13-cr-00473-RM-01
. STATEMENT OF REASONS
I COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

Ir

Til

a &l
Bo

cu

The Court adopts the presentence investigation report without change.

The Court adopts the presentence investigation report with the following changes.
(Check all that apply and specify Court determination, findings, or comments, referencing paragraph numbers in the presentence report, if applicable.)

(Use page 4 if necessary.)

C Chapter Two of the U.S.S.G. Manual determinations by Court (including changes to base offense level, or specific offense characteristics):

L] Chapter Three of the U.S.S.G. Manual determinations by Court (including changes to victim-related adjustments, role in the offense,
obstruction of justice, multiple Counts, or acceptance of résponsibility):

[] Chapter Four of the U.S.S.G, Manual determinations by Court (including changes to criminal history category or scores, career offender, or
criminal livelihood determinations):

4 Additional Comments or Findings (including comments or factual findings concerning certain information in the
presentence report that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation,
or programming decisions):

The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P, 32.

COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply.)

A
BO
ec

No Count of conviction carries a mandatory minimum sentence.
Mandatory minimum sentence imposed.

One or more Counts of conviction alleged in the indictment carry a mandatory minimum term of imprisonment, but the
sentence imposed is below a mandatory minimum term because the Court has determined that the mandatory minimum

does not apply based on
L] findings of fact in this case

C] substantial assistance (18 U.S.C. § 3553(e))

LJ the statutory safety valve (18 U.S.C. § 3553(8)

COURT DETERMINATION OF ADVISORY GUIDELINE RANGE (BEFORE DEPARTURES):

Total Offense Level: 28

Criminal History Category: I

Imprisonment Range: 78 to 97 months
Supervised Release Range: 1 to 3 years per count.
Fine Range: $ 12,500 to $ 125,000

 

Fine waived or below the guideline range because of inability to pay.
Case 1:13-cr-00473-RM Document 135 Filed 06/18/15 USDC Colorado Page 9 of 11

AO 245B (Rev. 11/14 D/CO) Criminal Judgment
Attachment (Page 2) — Statement of Reasons

DEFENDANT: GARY SNISKY
CASE NUMBER: 13-cr-00473-RM-01

IV. ADVISORY GUIDELINE SENTENCING DETERMINATION (Check only one.)
A. Xl
BO

c
DO

STATEMENT OF REASONS

(Use page 4 if necessary.)

(Also complete Section V.)

Judgment—Page 9 of 1

 

The sentence is within an advisory guideline range that is not greater than 24 months, and the Court finds no reason to depart.

The sentence is within an advisory guideline range that is greater than 24 months, and the specific sentence is imposed for these reasons.

The Court departs from the advisory guideline range for reasons authorized by the sentencing guidelines manual.

The Court imposed a sentence outside the advisory sentencing guideline system. (Also complete Section VI.)

V DEPARTURES AUTHORIZED BY THE ADVISORY SENTENCING GUIDELINES (If applicable.)

A The sentence imposed departs (Check only one.):
[-] below the advisory guideline range
[_] above the advisory guideline range

B_ Departure based on (Check all that apply.):

1

Plea Agreement (Check all that apply and check reason(s) below.):
5K1.1 plea agreement based on the defendant’s substantial assistance
5K3.1 plea agreement based on Early Disposition or “Fast-track” Program
binding plea agreement for departure accepted by the Court

plea agreement that states that the government will not oppose a defense departure motion.

CI
[-] plea agreement for departure, which the Court finds to be reasonable
C]
M

5K1.1 government motion based on the defendant’s substantial assistance

L

[_] 5K3.1 government motion based on Early Disposition or “Fast-track” program
[-] government motion for departure
CL

defense motion for departure to which the government did not object

[-] defense motion for departure to which the government objected

Other

[_] Other than a plea agreement or motion by the parties for departure (Check reason(s) below.):

C  Reason(s) for Departure (Check all that apply other than 5K1.1 or 5K3,1.)

4A13
5H1.1
SHi.2
$H1.3
SH1.4
5H1.5
SH1.6
SHLAL

O OOOO

5K2.0

O

Criminal History Inadequacy
Age C]
Education and Vocational Skills C]
Mental and Emotional Condition [|
Physical Condition C]
Employment Record C]
Family Ties and Responsibilities [|
Military Record, Charitable Service, C]
Good Works Cl
oO

Aggravating or Mitigating Circumstances

SK2.1
SK2.2
SK2.3
5K2.4
5K2.5
5K2.6
5K2.7
5K2.8
SK2.9

Death

Physical Injury

Extreme Psychological Injury
Abduction or Unlawful Restraint
Property Damage or Loss

Weapon or Dangerous Weapon
Disruption of Government Function
Extreme Conduct

Criminal Purpose

5K2.10 Victim’s Conduct

D Explain the facts justifying the departure. (Use page 4 if necessary.)

DOOUDOOOOOOOO

5K2.11
5K2.12
5K2.13
5K2.14
5K2,16
5K2.17
5K2.18
5K2.20
5K2,21
5K2,22
5K2.23

Lesser Harm

Coercion and Duress

Diminished Capacity

Public Welfare

Voluntary Disclosure of Offense
High-Capacity, Semiautomatic Weapon
Violent Street Gang

Aberrant Behavior

Dismissed and Uncharged Conduct
Age or Health of Sex Offenders
Discharged Terms of Imprisonment

Other guideline basis @.g., 2B1.1 commentary)
Case 1:13-cr-00473-RM Document 135 Filed 06/18/15 USDC Colorado Page 10 of 11

AO 245B (Rev. 11/14 D/CO) Criminal Judgment
Attachment (Page 3) — Statement of Reasons

Judgment—Page 10 of u

DEFENDANT: GARY SNISKY
CASE NUMBER: 13-cr-00473-RM-01

STATEMENT OF REASONS

VI COURT DETERMINATION FOR SENTENCE OUTSIDE THE ADVISORY GUIDELINE SYSTEM
(Check all that apply.)

A The sentence imposed is (Check only one.):
[_] below the advisory guideline range

[_] above the advisory guideline range

B Sentence imposed pursuant to (Check all that apply.):
a1 Ys Agreement (Check all that apply and check reason(s) below.):

binding plea agreement for a sentence outside the advisory guideline system accepted by the Court

[] plea agreement for a sentence outside the advisory guideline system, which the Court finds to be reasonable

L] plea agreement that states that the government will not oppose a defense motion to the Court to sentence outside the advisory guideline
system

2 Motion Not Addressed in a Plea Agreement (Check all that apply and check reason(s) below.):
T] government motion for a sentence outside of the advisory guideline system
[] defense motion for a sentence outside of the advisory guideline system to which the government did not object
CJ defense motion for a sentence outside of the advisory guideline system to which the government objected

3 Other

C] Other than a plea agreement or motion by the parties for a sentence outside of the advisory guideline system (

C  Reason(s) for Sentence Outside the Advisory Guideline System (Check all that apply.)

the nature and circumstances of the offense and the history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(1)

to reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense (18 U.S.C. § 3553(a)@)(A))
to afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))

to protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))

to provide the defendant with needed educational or vocational training, medical care, or other correctional treatment in the most effective manner
(18 U.S.C. § 3553(a)(2)(D))
to avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6))

OO OAuUOOUdO

to provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7))

D Explain the facts justifying a sentence outside the advisory guideline system. (Use page 4 if necessary.)
Case 1:13-cr-00473-RM Document 135 Filed 06/18/15 USDC Colorado Page 11 of 11

AO 245B (Rev. 11/14 D/CO) Criminal Judgment
Attachment (Page 4) — Statement of Reasons

Judgment—-Page ll of ll

DEFENDANT: GARY SNISKY
CASE NUMBER: 13-cr-00473-RM-01

STATEMENT OF REASONS

VIL COURT DETERMINATIONS OF RESTITUTION

A LC] Restitution Not Applicable.

B Total Amount of Restitution: _$2,531,032,22
C Restitution not ordered (Check only one.):

1 C] For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because the number of
identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).

2 C] For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because determining complex
issues of fact and relating them to the cause or amount of the victims’ losses would complicate or prolong the sentencing process to a degree
that the need to provide restitution to any victim would be outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).
3 CL] For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing guidelines, restitution is not
ordered because the complication and prolongation of the sentencing process resulting from the fashioning of a restitution order outweigh

the need to provide restitution to any victims under 18 U.S.C. § 3663(a)(1)(B)(ii).

4 CJ Restitution is not ordered for other reasons, (Explain.)

DO Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):

VILL ADDITIONAL FACTS JUSTIFYING THE SENTENCE IN THIS CASE (If applicable.)

Sections I, II, IH, IV, and VII of the Statement of Reasons form must be completed in all felony cases.
